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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO
                                 CHIEF JUDGE MARCIA S. KRIEGER

 Criminal Action No.      12-cr-00010-MSK

 UNITED STATES OF AMERICA,

         Plaintiff,
 v.

 8.      ERIC LUGO,

         Defendant.


                                   ORDER EXONERATING BOND


         This criminal action has proceeded to sentencing and a final judgment and conviction, and

 the defendant was remanded to the custody of the United States Marshal at sentencing, or has self-

 surrendered to the designated facility, as confirmed by the United States Bureau of Prisons. As a

 result, all the conditions of an appearance bond imposed by the court as a pretrial matter to secure the

 defendant’s release, pursuant to 18 U.S.C. § 3142(c), have been satisfied. Accordingly, it is

         ORDERED that the bond in this case is hereby exonerated and the surety or sureties, if

 applicable, are released. It is further

         ORDERED that the bail funds or property deposited into the registry of the court shall

 hereby be released by the clerk of the court, or a designated deputy, to the surety or the defendant.

         DATED this 31st day of January, 2013.


                                                         BY THE COURT:




                                                         Marcia S. Krieger
                                                         Chief United States District Judge
